

People v Keppen (2020 NY Slip Op 06680)





People v Keppen


2020 NY Slip Op 06680


Decided on November 13, 2020


Appellate Division, Fourth Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided on November 13, 2020

PRESENT: SMITH, J.P., CARNI, LINDLEY, TROUTMAN, AND BANNISTER, JJ. (Filed Nov. 13, 2020.) 


MOTION NO. (574/01) KA 99-05272.

[*1]THE PEOPLE OF THE STATE OF NEW YORK, RESPONDENT, 
vJOSHUA KEPPEN, DEFENDANT-APPELLANT.



MEMORANDUM AND ORDER
Motion for writ of error coram nobis denied.








